Case 2:04-CV-02483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 1 of 17 F_’ag_e|D 31
m * " '
. £DB’¥___ ___ n

 

IN THE UNITED sTATEs nIsTRIc'r coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 d "
wEsTERN DIv:csIoN us 25 AH 6: l,$
ask us 'EUULD
JoNATHAN T. HALFAcRE, f wm OFHS;FTCTCOIM

Plaintiff,
v. No. 04-2483 Ma P

THE HOME DEPOT, a/k/a HOME DEPOT,
U.S.A., INC.,

Defendant.

 

ORDER GR.ANTING DEFENDA.NT’S MOTION FOR SU'M\'.*EARY JUDGMENT AND
DISMISSING PLAINTIFF'S SUIT

 

Plaintiff Jonathan. T. Halfacre (“Halfacre”) brings claims
under Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000(e) _L seg4 (“Title VII”), for hostile work
environment discrimination, disparate treatment and retaliation.
Halfacre also brings state law claims of discrimination and
retaliation in Violation of the Tennessee Human Rights Act, T.C.A.
§ 4-21-101 §§ _§eg;l Before the court is defendant Home Depot
U.S.A., Inc.'s (“Home Depot”) motion for summary judgment, filed on
May 31, 2005. Halfacre filed a response on July ll, 2005. Home
Depot filed a reply on July 26, 2005. For the following reasons,

the court GRANTS Defendant's motion for summary judgment and

DISMISSES Plaintiff ' S SLlit; .

 

1
An additional state law claim for intentional infliction of emotional
distress was dismissed by an agreed order entered on August 30, 2004.

. .rne
This document entered on the doc sh et m_com harm
with Hu!e 58 and/or 79(3) FRCP on M

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 2 of 17 Page|D 32

I. Jurisdiction

Because this case arises under federal law, the court has
jurisdiction under 28 U.S.C. § 1331. The court has supplemental
jurisdiction under 28 U.S.C. § 1367(a) to adjudicate state law
claims arising from a common nucleus of operative facts.
II. Background

The following facts are undisputed or stated in the light most
favorable to the Plaintiff. Halfacre, an African-American, was
hired by the Memphis Fire Department in April, 1979. (Compl. at j
2; Halfacre Depo. at 8.) He is currently employed by the Memphis
Fire Department as a driver. (Halfacre Depo. at 12.) The Memphis
Fire Department requires Halfacre to work three non-consecutive 24-
hour shifts every' nine days. (Id. at 28-31.) Halfacre’s work
schedule with the fire department is flexible; if he needs to
substitute out of a shift he may switch shifts with any other
qualified driver who has not worked during the previous 12 hours
and who agrees to the switch. (Id. at 29; Halfacre Aff. at j 18.)

Halfacre is also employed by Home Depot at Store No. 729 in
Collierville, 'I'ennessee.2 (Halfacre Depo. at 85.) He is a full-time
associate in Store No. 729's paint department. (Id.) Halfacre has
worked for Home Depot since August 19, 1996.3 (Id. at 50.) The

position of paint department supervisor at Store No. 729 became

 

2

Halfacre is currently on sick leave from Home Depot, as well as the
Memphis Fire Department, because of a pinched nerve in his neck which required
surgery in November, 2004. (Halfacre Depo. at 23.)

3
Halfacre quit his employment with Home Depot for roughly six months in
2000. (Halfacre Depo. at 53, 85.)
2

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 3 of 17 Page|D 33

available in early 2003. (Halfacre Aff. at ll 16-17.) Halfacre
expressed interest in obtaining the department supervisor position.
(Halfacre Depo. at 93-94.) Halfacre was not interviewed for the
position and did not receive the position. (Id. at 99.) The
position was awarded to Dave Nicholas, who is white. (First Charge
of Discrimination.)

Ginnie McDaniels, the Assistant Store Manager at Store No.
729, told Halfacre in April, 2003, that he “would make a great
manager,” and that “[w]e would love to have you in management,” but
that she was concerned about his “fire department availability.”
(Halfacre Depo. at 99-100.) Matt Murphy, the Store Manager at Store
No. 729, also told Halfacre in July, 2003, that he was not
considered for the promotion because of the requirements of his job
with the Memphis Fire Department. (Id. at 100.) According to Bob
Acklie, a Regional Human Resource Manager for Home Depot, Home
Depot requires that its Department Supervisors “be available to
work a fully flexible schedule according to the needs of Home
Depot's business.” (Acklie Decl. at j 4.) The Home Depot Sales
Department Supervisor job description states that one of the
minimum qualifications a candidate must possess is the ability “to
work a flexible schedule.” (Rec. Appx. in Supp. of Def.'s Mot. for
Summ. J., Tab 6.) Halfacre’s work schedule with the Memphis Fire
Department is flexible and does not prevent him from working at
Store No. 729 whenever he is needed by Home Depot. (Halfacre Aff.
at 1[ 18.)

In several instances, Home Depot has ignored the requirement

3

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 4 of 17 Page|D 34

that a Department Supervisor have a “fully flexible schedule.” Home
Depot allowed Reco Watson to be a Department Supervisor although he
was attending college classes which conflicted. with his work
schedule. (Halfacre Depo. at 103-04.) Reco Watson. is African-
American. (Id. at 104.) Home Depot allowed Art Pruitt to be an
Assistant Manager although he had a second job at Federal Express.
(Id. at 106~07.) Art Pruitt is African-American. (Id. at 106.) Home
Depot allowed William Boone to be a Department Supervisor although
he had a second job as a fireman in Collierville, Tennessee. (Id.
at 161-62.) William Boone is African-American. (Id. at 162.)

In one instance, Home Depot prevented an employee from serving
as a Department Supervisor because her schedule was not
sufficiently flexible. Lisa Yancey was a Department Supervisor who
enrolled in school. (Id. at 104.) Home Depot forced Yancey to “step
down because they wasn't [sic] willing to work with her.” (Id.)
Lisa Yancey is white. (Id. at 105.)

On July 10, 2003, Halfacre filed a Charge of Discrimination
with the Equal Employment Opportunity Commission (“EEOC”) alleging
discrimination based on his race. The Charge of Discrimination
“particulars” state:

I was denied a promotion to the position of Department

Manager of the paint department on or about July 8, 2003.

I am classified as an.Associate and have been re-employed

since August 2000.

I believe I have been discriminated against because of my

race (Black) in violation of Title VII of the Civil

Rights Act of 1964, as amended, because my job

performance in the paint department has been consistently

above average. A less qualified white employee from a
different department was chosen for the position.

4

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 5 of 17 Page|D 35

Halfacre was issued a “right to sue letter” on March 31, 2004, and
subsequently, filed this suit, Case No. 04-2483, on June 29, 2004.

In September, 2003, after he had filed his first Charge of
Discrimination, Halfacre received a performance evaluation in which
he was given an “overall performance code” of “P." (Rec. Appx. in
Supp. of Def.'s Mot. for Summ. J., Tab 7.) The universe of possible
“overall performance codes” on.Home Depot’s performance evaluations
is: “O" for “outstanding,” “V” for “achiever,” “P” for “performer,”
and “I” for “improvement required.” (Id.) On past evaluations
Halfacre had received higher performance scores. (Halfacre Depo. at
179.) The performance evaluation also gave Halfacre a “potential
code of “+.” (Rec. Appx. in Supp. of Def.'s Mot. for Summ. J., Tab
7.) The universe of possible “potential codes” is “*” for “high
potential,” “+” for “promotable,” “=” for “grow in position,” and
“-” for “placement issue.” (Id.) Following the evaluation, Halfacre
received a pay increase of 55 cents per hour, or five percent of
his salary. (Halfacre Depo. at 132.)

Halfacre contends that he was underrated in his performance
evaluation in retaliation for filing his first Charge of
Discrimination. On March 5, 2004, Halfacre filed a second Charge of
Discrimination. with the EEOC alleging discrimination. based. on
retaliation. The Charge of Discrimination “particulars,” as amended
on June 30, 2004, state:

I have been employed with the above company since

September 2000 as an Associate. I filed a Charge of

Discrimination against the company on July 10, 2003. I

have since received ea poor' evaluation. on 9-27-03. I
discussed my concerns with the managers and human

5

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 6 of 17 Page|D 36

resources employees and it was agreed that the evaluation
would be revised. The final evaluation I received on 12-
19-03 is as poor as the original evaluation. My
evaluations affect my pay increase.

I believe that the company is retaliating against me
because I filed the earlier charge of discrimination.

Halfacre was issued a “right to sue letter” on September 2, 2004,
and subsequently filed suit on December 2, 2004. That suit was
docketed as Case No. 04-2982. Halfacre's two lawsuits were
consolidated under the original case number, Case No. 04»2483.
III. Summary Judgment Standard

The party moving for summary judgment “bears the burden of
clearly and convincingly establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion.” Kochins v. Linden-Alimak, Inc.,
799 F.2d 1128, 1133 (Gth Cir. 1986). The moving party can meet this
burden by pointing out to the court that the respondents, having
had sufficient opportunity for discovery, have no evidence to
support an essential element of their case. See Street v. J.C.
Bradford a Co., 886 F.2d 1472, 1479 (Gth cir. 1989).

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial

exists if the evidence is such that a reasonable jury could return

a verdict for the nonmoving party. See Anderson v. Liberty bobbyl
Inc., 477 U.S. 242, 248 (1986). The party opposing the motion must

“do more than simply show that there is some metaphysical doubt as
6

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 7 of 17 Page|D 37

to the material facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith
Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party may not
oppose a properly supported summary judgment motion by mere
reliance on the pleadings. gee Celotex Corp. v. Catrett, 477 U.S.
317, 324 (1986). Instead, the nonmoving party must present
“concrete evidence supporting its claims.” Cloverdale EcuiD. Co. v.
Simon. Aerials¢ Inc., 869 F.2d 934, 937 (6th Cir. 1989). The
district court does not have the duty to search the record for such
evidence. See InterRoval Corb. v. SDonseller, 889 F.2d 108, 110-ll
(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury
decision in their favor. gee ig;
IV. Analysis

Halfacre claims that Home Depot engaged in hostile work
environment discrimination, disparate treatment, and retaliation,
in violation of Title VII. Home Depot has moved for summary
judgment on each of Halfacre’s Title VII claims.

A. Hostile Work Environment

Home Depot argues that Halfacre's hostile work environment
claim should be dismissed because it is outside the scope of his
EEOC Complaint. (Def.'s Mem. in Supp. at 21.) Halfacre's response
to Home Depot's motion does not address this argument. Title VII
creates a cause of action for employment discrimination only after
a plaintiff has pursued an administrative remedy, such as filing a

Charge of Discrimination with the EEOC. 42 U.S.C. §

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 8 of 17 Page|D 38

2000(e)»5(f)(1); Love v. Pullman Co., 404 U.S. 522, 523 (1972). The
cause of action stated in the plaintiff’s complaint must fall
“within the scope of the EEOC investigation that is reasonably
expected to grow out of the charge of discrimination that was filed
with the EEOC.” Bray v. Palm Beach Co., 907 F.2d 150, 1990 WL
92672, at *l (6th Cir. 1990) (citing EEOC v. McCall Printing Corp.,
633 F.2d 1232, 1235 (6th Cir. 1980)). Courts are expected to
construe administrative complaints liberally in.determining whether
a claim in a Title VII complaint was “reasonably expected to grow
out of the charge of discrimination.” Haithcock v. Frank, 958 F.2d
671, 675-76 (6th Cir. 1992). Liberal construction of the EEOC
complaint is required because “technicalities are particularly
inappropriate in a statutory scheme [like Title VII] in which
laymen, unassisted by trained lawyers, initiate the process.” Lgy§,
404 U.S. at 527; see also Boykin v. Michigan Dept. of Corrections,
211 F.3d 1268, 2000 WL 491512, at *2 (6th Cir. 2000) (“[w]e may
quickly dispose of defendants' scope argument, as we liberally
construe the scope of a charge originally filed with EEOC”).
Neither of Halfacre's EEOC Charges of Discrimination states
that he was subjected to a racially hostile work environment. An
investigation into the work environment at Home Depot Store No. 729
could not reasonably be expected to grow out of an investigation
into a single allegation of disparate treatment or a single
allegation of retaliation. See, e.g., Dorsev v. Pinnacle Automation

CO., 278 F.Bd 830, 838 (8th Cir. 2002) (hOlding that a hostile WOrk
8

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 9 of 17 Page|D 39

environment claim would not be within the scope of an investigation
into a clainl of a single allegation. of failure to promote).
Consequently, the court lacks subject matter jurisdiction of
Halfacre's hostile work environment claim.

B. Disparate Treatment

Halfacre alleges that Home Depot is liable under Title VII for
racially discriminatory disparate treatment when he was denied a
promotion to head the paint department. “To base a clain\ on
disparate treatment, the plaintiff must show discriminatory motive.
Such proof can be established by direct evidence or may be inferred
based cni a prima facie showing of discrimination.” Huguley v.
General Motors Corp., 52 F.3d 1364, 1370 (6th Cir. 1995).

Direct evidence is “evidence which, if believed, requires the
conclusion that unlawful discrimination was at least a motivating
factor.” Bartlik v. U.S. Dep’t of Labor, 73 F.3d 100, n. 5 (6th
Cir. 1996)(internal citations omitted). Stray remarks in the
workplace, statements by nondecisionmakers, or statements by
decisionmakers unrelated to the decisional process itself do not
constitute direct evidence of discrimination. Price Waterhouse v.
Hopkins, 490 U.S. 228, 277 (1989). To the contrary, “[w]hat is
required is ... direct evidence that decisionmakers placed
substantial negative reliance on an illegitimate criterion in
reaching their decision." lgg Halfacre has provided no direct
evidence of discrimination. None of the evidence he has presented
directly links a discriminatory motive to any of the employment

decisions.

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 10 of 17 Page|D 40

In the absence of direct evidence of discrimination, disparate

treatment claims are analyzed under the shifting burden analysis

set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973),
and as refined in Texas Department of Community.Affairs v. Burdine,

450 U.S. 248 (1981). Under that analysis, a plaintiff must first
prove, by a preponderance of the evidence, a prima facie case of
discrimination. gee Burdine, 450 U.S. at 252. If the plaintiff
meets this burden, the burden shifts to the defendant to produce a
legitimate, non-discriminatory reason for the adverse employment
action. §§§ id; at 252-53. If the defendant meets this burden, the
burden then shifts back to the plaintiff to show that the reasons
offered by the defendant are a pretext for discrimination. §ee igg
at 253. Throughout this analysis, the ultimate burden of proving
the intent to discriminate, by a preponderance of the evidence,
always remains with the plaintiff. gee St. Ma;y's Honor Center v.
M, 509 U.S. 502, 511 (1993).

To establish a prima facie case of discrimination, a plaintiff
must prove that (1) he is a member of a protected class, (2) he
suffered an adverse employment action, (3) he was qualified for the
position, and (4) he was replaced with someone outside the
protected class or was treated less favorably than similarly-
situated persons outside the protected class. Manzer v. Diamond
Shamrock Chem. Co., 29 F.3d 1078, 1081 (6th Cir. 1994). Home Depot
first argues that Halfacre has failed to satisfy element (2) of the

prima facie case: that he was qualified for the position. Home

10

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 11 of 17 Page|D 41

Depot claims that Halfacre was not qualified because Department
Supervisors must have a “flexible schedule,” and Halfacre's
employment with the Memphis Fire Department meant that his schedule
was not sufficiently flexible. (Pl.'s Mem. in Supp. at 9-10J
Halfacre, however, states in his affidavit that “I have and
currently am able to work a flexible schedule at all times at Home
Depot.” (Halfacre Aff. at j 18.) Viewing the evidence in the light
most favorable to Halfacre, a jury could conclude that Halfacre had
a sufficiently flexible schedule to be qualified for the position
of Department Supervisor.

Because Halfacre has made out a prima facie case of disparate
treatment, the burden shifts to Home Depot to prove that the
decision not to consider Halfacre for the position of Department
Supervisor was based “on a legitimate consideration, and not an
illegitimate one such as race." Furnco Const. Corp. v. Waters, 438
U.S. 567, 577 (1978). This burden, however, is slight. To meet the
burden, and dispel the adverse inference from a prima facie showing
under McDonnell Douglas, Home Depot “need only articulate some
legitimate, nondiscriminatory reason for the employee's rejection."
lc_i4 at 578 (internal quotes and citations omitted).

Home Depot states that its “legitimate, nondiscriminatory
reason” for not considering Halfacre for a promotion was Home
Depot's belief that Halfacre's job with the Memphis Fire Department
prevented his schedule from being flexible enough to be a
Department Supervisor. (Def.'s Mem. in Supp. at 12.) The record

contains evidence which supports Home Depot's stated reason. Bob

ll

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 12 of 17 Page|D 42

Acklie, a Regional Human Resource Manager for Home Depot, stated
that Home Depot requires that its Department Supervisors “be
available to work a fully flexible schedule according to the needs
of Home Depot's business.” (Acklie Decl. at 1 4.) The Home Depot
Sales Department Supervisor job description states that one of the
minimum qualifications a candidate must possess is the ability “to
work a flexible schedule.” (Rec. Appx. in Supp. of Def.'s Mot. for
Summ. J., Tab 6.) Ginnie McDaniels, the Assistant Store Manager,
and Matt Murphy, the Store Manager, told Halfacre that he was not
considered for the promotion because of the requirements of his job
with the Memphis Fire Department. (Halfacre Depo. at 99-100.) Home
Depot has prevented employees from working as Department
Supervisors in the past because of concerns about the affect their
out-of-work commitments could have on the flexibility of their
schedules: Lisa Yancey was a white Department Supervisor who was
forced to step down from her position when she enrolled in school.
(Id. at 104-05.) Home Depot has met its burden of articulating a
“legitimate, nondiscriminatory reason” for its decision not to
consider Halfacre for a promotion.

Halfacre has the burden of presenting evidence from which a
jury `could conclude that Home Depot's stated reason for not
promoting him was a pretext for discrimination. Halfacre first
argues that the fact that Home Depot has allowed other employees
with substantial out-of-work obligations to be Department
Supervisors is evidence that Home Depot's stated reason for not

promoting him was pretextual. Halfacre, however, has only presented

12

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 13 of 17 Page|D 43

evidence of black employees who were permitted to be Department
Supervisors despite substantial commitments outside of their jobs
at Store 729. (Id. at 103-07, 161-62.) Further, the only employee
identified in the record who was not permitted to be a Department
Supervisor because of out-of-work commitments was white. (Id. at
104-05.) In the light most favorable to Halfacre, the evidence
shows that Home Depot inconsistently enforced its policy of
requiring that Department Supervisor's have fully flexible
schedules. It does not support the inference that Home Depot used
the fact that Halfacre was employed by the Memphis Fire Department
as a pretext for racial discrimination.

Halfacre also argues that Home Depot's proferred reason for
not promoting him is pretextual because Home Depot did not tell
Halfacre the reason he was not promoted until after he had filed
his EEOC Charge of Discrimination. (Pl.'s Resp. at 31-32.) Halfacre
contends that Home Depot came up with its allegedly pretextual
excuse only after the Charge had been filed. Halfacre, however,
testified in his deposition that Ginnie McDaniels, the Assistant
Store Manager, told Halfacre in April, 2003, that he “would make a
great manager,” and that “[w]e would love to have you in
management,” but that she was concerned about his “fire department
availability.” (Halfacre Depo. at 99-100.) Halfacre filed his
Charge of Discrimination on July 10, 2003.

There is no evidence that Home Depot's proffered reason for
not promoting Halfacre, that he had a second job which prevented
his schedule from being flexible enough to be a Department

13

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 14 of 17 Page|D 44

Supervisor, was a pretext for racial discrimination. Therefore, the
court grants Home Depot's motion for summary judgment on Halfacre's
claim of disparate treatment in violation of Title VII.

C. Retaliation Claim

Halfacre alleges that Home Depot is liable under Title VII for
retaliation. Absent direct evidence of retaliation, claims for
retaliation are subject to the same analytical framework as claims
for discrimination. gee Wrenn v. Gould, 808 F.2d 493, 500-02 (6th
Cir. 1987). That is, if a plaintiff establishes a prima facie case
of retaliation, the burden shifts to the defendant to articulate a
legitimate, nondiscriminatory reason for its employment action. ld¢
at 501. If the defendant does so, the plaintiff can prevail only by
showing that the articulated reason is false or pretextual. A prima
facie case of retaliation is established when a plaintiff shows
that (1) she engaged in a protected activity, (2) his protected
activity was known by the defendant, (3) the defendant thereafter
took an employment action adverse to the plaintiff, and (4) there
was a causal connection between the protected activity and the
adverse employment action. ldg at 500.

Home Depot argues that Halfacre has not made out a prima facie
case of retaliation because Halfacre has not satisfied the third
prong of the prima facie case, that he was subject to an adverse
employment action. (Def.'s Reply Brief at 12.) Halfacre claims that
his September, 2003, performance evaluation was an adverse
employment action because he received a “P” rating, and on past
evaluations he had received higher ratings. (Pl.'s Resp. at 41.)

An employee suffers an adverse employment action when there is

14

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 15 of 17 Page|D 45

“a significant change in employment status, such as hiring, firing,
failing to promote, reassignment with significantly different
responsibilities, or a decision causing a significant change in
benefits.” Holt v. Morgan, 79 Fed. Appx. 139, 141 (6th Cir. 2003)
(citing Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 761
(1998)). “A performance evaluation that is lower than an employee
feels is warranted is not an adverse employment action sufficient
to state a claim of discrimination.” Hglp, 79 Fed. Appx. at 141.
Halfacre's “overall performance code” of “P,” or “performer” on his
September, 2003, performance evaluation does not constitute an
adverse employment action under Hglp. The performance evaluation
stated that Halfacre was “promotable,” and Halfacre received a 55
cent raise following the evaluation. Thus, Halfacre's evaluation
score of “P” was not “a significant change in employment status,”
and the court grants Home Depot's motion for summary judgment on
Halfacre's claim of retaliation.
V. State Law Claims

“A district court has broad discretion in deciding whether to
exercise supplemental jurisdiction over state law claims.” Musson
Theatricall Inc. v. Federal Express Corp., 89 F.3d 1244, 1254 (6th
Cir. 1996) (citation omitted). “The district courts may decline to
exercise supplemental jurisdiction over a claim under subsection
(a) if ... (3) the district court has dismissed all claims over
which it has original jurisdiction.” 28 U.S.C. § l367(c)(3).
Consequently, “When all federal claims are dismissed before trial,
the balance of considerations usually will point to dismissing the
state law claims, or remanding them to state court if the action

was removed.” Id. at 1254-55 (citing Carnegie-Mellon Univ. v.
15

Case 2:04-CV-O2483-SH|\/|-tmp Document 25 Filed 08/26/05 Page 16 of 17 Page|D 46

Cohill, 484 U.S. 343, 350 n. 7 (1988)); see also Brandenburg v.
Housing Authority of Irvine, 253 F.3d 891 (6th Cir. 2001) (“In
fact, the usual course is for the district court to dismiss
state-law claims without prejudice if all federal claims are
disposed. of on summary' judgment.”). Because all of Halfacre’s
federal claims have been dismissed, the court declines to exercise
supplemental jurisdiction over the remaining state law claims and
dismisses those claims without prejudice.
VI. Conclusion

For the foregoing reasons, the court GRANTS Defendant’s motion
for summary judgment on Plaintiff's Title VII claims and DISMISSES

Plaintiff's state law claims without prejudice.

So ordered this 1"!",'("day of August 2005.

M</WI/z__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

16

   

UNITE`D STEATS DISRTICT OURT - WESERN DISTRIC OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02483 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Keith D. Frazier

OGLETREE DEAKINS NASH SMOAK & STEWART
424 Church St.

Ste. 800

Nashville, TN 37219

Kaye G. Burson
RUTLEDGE & RUTLEDGE
1053 W. ReX Road

Ste. 1 0 1

Memphis7 TN 38119

Honorable Samuel Mays
US DISTRICT COURT

